 Case 0:01-cv-02086-DWF-AJB         Document 560-2       Filed 10/12/2007     Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA
                               FOURTH DIVISION


RODERICK ARNOLD et al.,                            Civil File No. 01-cv-2086 (DWF/AJB)
                     Plaintiffs,
v.                                                LR 7.1(C) WORD COUNT
                                                  COMPLIANCE CERTIFICATE
CARGILL, INCORPORATED,                            REGARDING CARGILL,
                                                  INCORPORATED’S
                                                  MEMORANDUM OF LAW IN
                     Defendant.                   SUPPORT OF MOTION FOR
                                                  ATTORNEYS’ FEES AND
                                                  RELATED EXPENSES INCURRED
                                                  AS A RESULT OF FORMER
                                                  CLASS COUNSEL S&L’S
                                                  CONDUCT



I, Michael Iwan, certify that Cargill, Incorporated’s Memorandum of Law in Support of
Motion for Attorneys’ Fees and Related Expenses Incurred as a Result of Former Class
Counsel S&L’s Conduct complies with Local Rule 7.1(c).

I further certify that, in preparation of this memorandum, I used Microsoft Word 2000,
and that this word processing program has been applied specifically to include all text,
including headings, footnotes, and quotations in the following word count.

I further certify that the above-referenced memorandum, composed in 13-point Times
New Roman font, contains 7,438 words.

Dated: October 12, 2007                      DORSEY & WHITNEY LLP


                                                 s/Michael Iwan
                                                 Paul B. Klaas (#56327)
                                                 Holly S. A. Eng (#238028)
                                                 Michael Iwan (#28628X)
                                             50 South Sixth Street, Suite 1500
                                             Minneapolis, MN 55502-1498
                                             Telephone: (612) 340-2600
                                             Attorneys for Defendant
                                             CARGILL, INCORPORATED
